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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

JANE DOE,
Plaintiff,
vs. Case No. 1:23-cv-02006-APM

LYFT, INC., et al.,

Defendants.

NOTICE OF DISMISSAL

Plaintiff, by counsel, pursuant to Fed. R. Civ. P.
41(a) (1) (A) (i), hereby dismisses the action against Defendant

Naoufal Jellali, with prejudice.
Respectfully submitted,

CHAIKIN, SHERMAN, CAMMARATA &
SIEGEL, P.C.

SEM

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CERTIFICATE OF SERVICE

I hereby certify that on the 24t® day of January, 2024, a
true copy of the foregoing Notice of Dismissal was served via
CM/ECF upon:

Denise E. Giraudo, Esq.

Christopher R. Williams, Esq.

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